498 F.2d 1340
    GABLES BY THE SEA, INC., Plaintiff-Appellant,v.Emmett C. LEE, Jr., Colonel, et al., Defendants-Appellees.
    No. 74-1028 Summary Calendar.**Rule 18, 5th Cir. See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431
    
      F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      July 9, 1974, Rehearing Denied Aug. 2, 1974.
      Allan M. Glaser, Marion E. Sibley, Miami Beach, Fla., for plaintiff-appellant.
      Robert W. Rust, U.S. Atty., Robert Reynolds, Asst. U.S. Atty., Miami, Fla., for defendants-appellees.
      Parker D. Thomson, Sanford L. Bohrer, Miami, Fla., for Audubon Societies.
      Wallace H. Johnson, Carl Strass, Edward J. Shawaker, Attys., James R. Walpole, U.S. Dept. of Justice Washington, D.C., for intervenor.
      Before GEWIN, GODBOLD and CLARK, Circuit Judges:
      PER CURIAM:
    
    
      1
      In this case, Gables by the Sea, Inc., seeks reversal of the district court's order granting summary judgment to the appellees.  After giving full consideration to the briefs, trial record, and the district court opinion, 365 F.Supp. 826, we discern no valid basis for reversal under the facts disclosed by the record in this case.  Moreover, our recent opinion in Di Vosta Rentals, Inc. v. Lee, 488 F.2d 674 (5th Cir. 1973), demonstrates to us that appellant's contentions are without merit.  Accordingly, the judgment of the district court is affirmed.
    
    